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                                                                           April 23, 2025

BY CM/ECF

The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

           Re:    Metro. Transp. Auth. v. Duffy, No. 25 Civ. 1413 (S.D.N.Y.)

Dear Judge Liman,

       We write on behalf of Plaintiffs, Triborough Bridge and Tunnel Authority (“TBTA”) and
the Metropolitan Transportation Authority (“MTA”), and Plaintiff-Intervenor the New York State
Department of Transportation (“NYSDOT”), to advise the Court of a letter sent on April 21 by
Secretary Duffy to Governor Hochul (“April 21 Letter”). The April 21 Letter bears directly on the
scheduling issues that the parties discussed with Your Honor at the recent conference on April 9,
2025.

        In the April 21 Letter, Secretary Duffy “direct[s] the New York State Department of
Transportation (‘NYSDOT’) to show cause, no later than May 21, 2025, why FHWA should not
take appropriate steps under 23 CFR § 1.36 to remedy New York’s noncompliance with 23 U.S.C.
§ 301 in connection with the [Central Business District Tolling Program],” such alleged
noncompliance being predicated on the purported termination of the Value Pricing Pilot Program
(“VPPP”) Agreement that plaintiffs have challenged in this action. April 21 Letter at 1. Secretary
Duffy goes on to state, if “FHWA determines that New York is out of compliance with 23 U.S.C.
§ 301, FHWA will implement appropriate initial compliance measures beginning on or after May
28, 2025,” including but not limited to withholding of various approvals needed for transportation
projects, as well as federal transportation funding. Id. at 2. That date, May 28, is of course the
day after the Defendants are supposed to file their answers and the administrative record in this
matter. ECF 57. A copy of the April 21 Letter is attached hereto as Attachment 1.
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        We will meet and confer with counsel for Defendants both on the substance of the Letter
and on an appropriate schedule to brief a motion for a preliminary injunction preventing the
threatened enforcement measures. To reiterate, the MTA, TBTA, and NYSDOT have no intention
of halting the Central Business District Tolling Program absent a court order, notwithstanding the
threats in the April 21 Letter, and we obviously do not think that Defendants should take steps on
their own to enforce Secretary Duffy’s February 19 purported termination of the VPPP Agreement
while the legality of that decision remains pending before this Court. If we are unable to agree on
an appropriate schedule, we intend to respectfully request that the Court hold another scheduling
conference so that the important issues in this case can be briefed in an orderly manner.



                                                     Respectfully submitted,




                                                     Roberta A. Kaplan



cc:   Counsel of Record (via ECF)




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